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                            UNITED STATES DISTRICT COURT
                            FOR THE DISTRICT OF COLUMBIA


Jolene Anderson,
1614 Betty Street,
Marrero, LA 70072

Candace Johnson,
1612 Julie Street,
Marrero, LA 70072

Kedra James,
1704 Julie Street,
Marrero, LA 70072, and

Marrero Tenants Organization, Inc.,
1731 Betty Street,
Marrero, LA 70072
                                                  Civil Action No. ______________
                   Plaintiffs,

       v.
                                                  COMPLAINT
United States Department of Housing and
Urban Development,
451 7th Street, S.W.,
Washington, D.C. 20410, and

Marcia L. Fudge, Secretary of the Department
of Housing and Urban Development, in her
official capacity,
451 7th Street, S.W.,
Washington, D.C. 20410



                   Defendants.



                                      INTRODUCTION

       1.       Plaintiffs Jolene Anderson, Candace Johnson, Kedra James, and Marrero Tenants

Organization, Inc., bring this action against United States Department of Housing and Urban
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Development (“HUD”) and Marcia L. Fudge, Secretary of HUD, for violating the Administrative

Procedure Act (“APA”) by approving the conversion of Acre Road, a nearly 100% Black public

housing development in Marrero, Jefferson Parish, Louisiana, to tenant-based housing voucher

assistance pursuant to a Streamlined Voluntary Conversion (“SVC”) process established by

Defendants that was promulgated without first providing notice and an opportunity for interested

parties to comment.

       2.       The SVC process waives a statutorily-required conversion assessment that is

required to be conducted by public housing agencies (“PHAs”) seeking to convert their public

housing inventory to tenant-based Housing Choice Vouchers (“HCVs”). The statute, 42 U.S.C. §

1437t, and its implementing regulations, at 24 C.F.R. part 972, require PHAs to complete a

conversion assessment that, among other things, demonstrates that rental market conditions favor

the likely success of the use of tenant-based assistance by displaced public housing residents, and

that the conversion will not result in neighborhoods with greater concentrations of poverty, or

negatively impact the availability of affordable housing. The SVC process effects substantive

changes to the voluntary conversion process, and its waiver of the conversion assessment

conflicts with the applicable statutory and regulatory framework, in violation of the APA.

       3.       Defendants’ approval of the Acre Road SVC ignored record data showing that the

SVC will displace Acre Road tenants to neighborhoods that are more racially segregated, have

lower income levels, lower rates of homeownership, and higher rates of unemployment than

Marrero and Jefferson Parish as a whole, and the greater New Orleans, Louisiana, metropolitan

region, in contravention of Defendants’ mandate to further fair housing under the Fair Housing

Act. Moreover, had a conversion assessment been performed as is required by the applicable

statute and regulations, Defendants’ decision on the Acre Road SVC would have been informed



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by data demonstrating that only 57% of individuals issued vouchers by the relevant Jefferson

Parish housing authority have successfully used them to secure alternative housing in the private

rental market due to high rents that exceed the maximum voucher payment standard,

discrimination, and lack of affordable housing stock within the Parish. Indeed, only one plaintiff,

Kedra James, has been able to find housing with her voucher. That housing is outside of

Jefferson Parish, located in a neighborhood that has higher crime rates, and is more expensive

than Ms. James’s housing in Acre Road. Defendants’ approval of the SVC conversion is

arbitrary, capricious, an abuse of discretion, and not in accordance with the law, in violation of

the APA.

       4.       Defendants’ approval of the Acre Road SVC authorizes its administrator, the

Housing Authority of Jefferson Parish (“HAJP”), a PHA serving all of Jefferson Parish except

for the cities of Kenner and Westwego, to issue at any time notices to Acre Road’s

approximately 50 low-income families that they have 90 days to vacate their homes.

       5.       The remaining tenants at Acre Road, including plaintiffs Jolene Anderson and

Candace Johnson, will become homeless if they are unable to find housing with their vouchers.

Plaintiffs seek declaratory and injunctive relief to remedy Defendants’ APA violations and to

ensure the SVC process complies with the U.S Housing Act of 1937 (“Housing Act”) and

Defendants’ mandate to promote fair housing under the Fair Housing Act (“FHA”).


                                            PARTIES

                                          PLAINTIFFS


                Plaintiff Jolene Anderson is a Black woman with disabilities who resides in a

three-bedroom unit at 1614 Betty Street, Marrero, Louisiana. She has been a tenant in the Acre

Road development for 9 years. Since receiving an HCV in or around July 2021, Ms. Anderson

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has looked at over 30 units, but the properties either did not accept vouchers or charged rent that

exceeded her voucher amount. She has been unable to secure a new place to live.

       13.     Plaintiff Candace Johnson is a Black woman who resides at 1612 Julie Street,

Marrero, Louisiana. She has been a tenant in the Acre Road development for 14 years. Since

receiving an HCV in or around summer 2021, Ms. Johnson has looked at over 25 rental units,

most of which either do not accept vouchers or are located in areas with high crime levels in

which she would not feel safe. She has been unable to find any rental units that will accept her

voucher and has been unable to secure a new place to live.

       14.     Plaintiff Kedra James is a Black woman who resides at 1704 Julie Street,

Marrero, Louisiana. She has been a tenant in the Acre Road development for approximately 15

years. Since receiving an HCV at the end of 2021, Ms. James has been unable to locate housing

in Jefferson Parish. To avoid homelessness, she is relocating to a unit in a neighborhood in

Orleans Parish in which crime levels are significantly higher than at Acre Road.

       15.     Plaintiff Marrero Tenants Organization, Inc. (“MTO”) is the duly elected Tenant

Council located at 1731 Betty Street, Marrero, Louisiana. The MTO represents the interests of all

public housing tenants at the Acre Road development and meets regularly to advocate for

tenants’ rights. Its advocacy has included sending several letters to HUD officials and submitting

comments to the Louisiana Housing Corporation in connection with the Acre Road conversion,

citing its members’ significant concerns about the displacement of Acre Road residents, and the

lack of sufficient market availability to make the use of HCVs for relocation feasible.

       16.     The MTO’s bylaws state that all Acre Road tenants, including Plaintiffs Jolene

Anderson, Candace Johnson, and Kedra James, are members of the MTO. Since HAJP

announced plans to convert Acre Road on or about July 22, 2020, most of the MTO’s members



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have been displaced. As a result, the MTO has experienced increased difficulty organizing

meetings, contacting members, and facilitating members’ participation in the SVC process.

                                         DEFENDANTS

       17.       Defendant U.S. Department of Housing and Urban Development (“HUD”),

located at 451 7th Street, S.W., Washington, D.C. 20410, is a department of the Executive

Branch of the United States Government.

       18.       Defendant Marcia L. Fudge is the Secretary of HUD and is responsible for

overseeing all HUD operations, including the promulgation of regulations, the development and

implementation of programs, and compliance with and enforcement of governing statutes,

including the Housing Act and FHA. Secretary Fudge is sued in her official capacity.

                                 JURISDICTION AND VENUE

       19.       This Court has authority to review final agency action under the Administrative

Procedure Act, 5 U.S.C. § 702, and jurisdiction over this action seeking such review under 28

U.S.C. § 1331.

       20.       Venue is proper in this District pursuant to 28 U.S.C. § 1391(e) because HUD is

domiciled in the District of Columbia. Venue is also proper pursuant to 5 U.S.C. § 703.

                                  FACTUAL BACKGROUND

Statutory & Regulatory Background

       Statutory Framework

       21.       The Housing Act created a system of public housing “to remedy the unsafe

housing conditions and the acute shortage of decent and safe dwellings for low-income families”

and “to address the shortage of housing affordable to low-income families.” 42 U.S.C. §

1437(a)(1)(A)–(B).



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       22.     The Housing Act creates two forms of subsidized housing implemented and

regulated by HUD and local PHAs. Section 9 provides for public housing for low-income

individuals. Public housing developments are operated locally by PHAs and funded by the

federal government and through tenants’ rent payments. According to HUD, currently,

approximately 970,000 households live in public housing units managed by about 3,300 PHAs

throughout the United States.

       23.     Individuals living in public housing pay a maximum rent of the highest of: 30% of

their monthly adjusted income, 10% of monthly income, or a minimum rent set by the PHA,

which may not be more than $50. 24 C.F.R. §§ 5.628; 5.630. The rent calculation includes a

utility allowance.

       24.     Section 8 of the Housing Act governs the HCV program, which provides a tenant-

based subsidy that an individual may use to rent a unit on the private market. The individual’s

rent portion, inclusive of the utility allowance, is capped at 40% of the tenant’s monthly adjusted

income at initial occupancy. 24 C.F.R. § 982.508.

       25.     An HCV participant is limited to units with rents below the maximum rent

determined by the PHA. The PHA calculates the maximum rent based on the family’s adjusted

household income and a “payment standard” based on HUD-approved fair market rent (“FMR”)

for the relevant market area. A PHA is authorized to establish a payment standard between 90 to

110% FMR. 24 C.F.R. § 982.503(b).

       26.     The payment standard is the maximum subsidy the PHA will pay for a unit leased

in the HCV program by bedroom size, inclusive of a utility allowance.




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       27.     HUD publishes FMRs annually, based on the prior year’s market data. 24 C.F.R.

§ 888.13. As such, in areas where rents are rapidly increasing, the FMR does not always reflect

the current cost of rental housing.

       28.     Once an HCV participant finds an apartment, it must be inspected by the PHA to

ensure the unit complies with HUD’s Housing Quality Standards for habitability. The PHA must

also determine that the requested rent is reasonable. Once the PHA agrees to lease terms with the

landlord, a tenant may move in to the unit.

       29.     The Housing Act provides a process for voluntary conversion of Section 9 public

housing by PHAs to Section 8 HCVs. 42 U.S.C. § 1437t.

       30.     The statute and its implementing regulations, 24 C.F.R. part 972, set forth the

procedural requirements with which a PHA must comply when converting public housing to

tenant-based vouchers.

       31.     Before the conversion may occur, the PHA must perform a conversion assessment

pursuant to 42 U.S.C. § 1437t(b)(1), which must include at least five components.

       32.     First, the conversion assessment must include a cost analysis that demonstrates

whether the cost of providing HCVs for the same families in substantially similar dwellings over

the same period of time is less expensive than continuing federal assistance for the public

housing development.

       33.     Second, the assessment must include an analysis of the market value of the public

housing development before and after rehabilitation and before and after conversion.

       34.     Third, the assessment must include an analysis of the rental market conditions

with respect to the likely success of households in using HCVs in the relevant housing market for




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residents of the public housing community, including an assessment of the availability of decent

and safe dwellings renting at or below the established payment standard.

       35.     Fourth, the assessment must evaluate the impact of the conversion to HCVs on the

neighborhood in which the public housing development is located.

       36.     Fifth, the assessment must include a plan that identifies actions to be taken by the

PHA to convert a public housing development to HCVs.

       37.     The PHA must demonstrate through the conversion assessment that the

conversion—(1) will not be more expensive than continuing to operate the housing project (or

portion thereof) as public housing; (2) will principally benefit the residents of the public housing

project (or portion thereof) to be converted, the PHA, and the community; and (3) will not

adversely affect the availability of affordable housing in such community. 42 U.S.C. § 1437t(c).

       38.     A PHA must submit a conversion plan for evaluation by the Secretary. Among

other things, a conversion plan must “describe the conversion and future use or disposition of the

project (or portion thereof) and include an impact analysis on the affected community.” 42

U.S.C. § 1437t(d)(3).

       39.     The Secretary “shall disapprove a conversion plan only if—(1) the plan is plainly

inconsistent with the conversion assessment for the agency developed under [Section 22(b)]; (2)

there is reliable information and data available to the Secretary that contradicts that conversion

assessment; or (3) the plan otherwise fails to meet the requirements of this section.” 42 U.S.C.

§ 1437t(e).

       Regulatory Framework

       40.     Pursuant to these statutory provisions, on September 17, 2003, HUD promulgated

regulations implementing 42 U.S.C. § 1437t after notice and comment. These regulations are



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codified at 24 C.F.R. part 972. See Voluntary Conversion of Developments from Public Housing

Stock, 68 Fed. Reg. 54,612 (Sept. 17, 2003).

       41.     Those regulations specify the requirements for PHAs to obtain HUD approval to

convert a public housing development to tenant-based assistance. They likewise confirm that a

conversion assessment is required for all voluntary conversions pursuant to 42 U.S.C. § 1437t.

See 24 C.F.R. § 972.209(a).

       42.     The conversion assessment is a “necessary condition for HUD approval of a

conversion.” 24 C.F.R. § 972.224.

       43.     The conversion assessment must include five elements: (1) a cost analysis; (2)

analysis of the market value; (3) analysis of rental market conditions; (4) an impact analysis; and

(5) a conversion implementation setting forth a “description of any actions the PHA intends to

take in converting the development.” 24 C.F.R. § 972.218(a)–(e).

       44.     The market analysis component must include an “analysis of the likely success of

using tenant-based assistance for the residents of the public housing development . . . [and] … an

assessment of the availability of decent, safe, and sanitary dwelling units rented at or below the

applicable Section 8 payment standard.” 24 C.F.R. § 972.218(c).

       45.     The “impact analysis” component is a description of the “likely impact of

conversion of the public housing development on the neighborhood in which the public housing

is located . . . [including] the impact on “the availability of public housing in the neighborhood . .

. [and] the impact on the concentration of poverty in the neighborhood.” 24 C.F.R. § 972.218(d).

       46.     In addition to the conversion assessment, the PHA must also complete a

conversion plan. The conversion plan must include, among other things, “an impact analysis of

the conversion on the affected community . . . [which may] include the description that is



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required as part of the conversion assessment,” “a description of how the conversion plan is

consistent with the findings of the conversion assessment undertaken in accordance with [24

C.F.R.] § 972.218,” and a summary of “why the conversion assessment for the public housing

project supports the three conditions necessary for conversion described in [24 C.F.R.] §

972.224.” See 24 C.F.R. § 972.230(b), (c), & (f).

       47.     HUD may not disapprove a conversion plan under the regulations unless (1) the

conversion plan is plainly inconsistent with the conversion assessment; (2) there is reliable

information and data available to the Secretary that contradicts the conversion assessment; or (3)

the conversion plan is incomplete or otherwise fails to meet the requirements under § 972.230.

24 C.F.R. § 972.239.

       PIH Notice 2019-05

       48.     On March 21, 2019, HUD released PIH Notice 2019-05 (“PIH Notice” or

“Notice”) to Regional Managers, Office of Public Housing Directors, Program Center

Coordinators, Public Housing Agencies, and Resident Management Corporations, titled,

“Streamlined Voluntary Conversions of Last Remaining Projects of Small Housing Agencies.”

       49.     The PIH Notice outlined the SVC process to allow small PHAs with fewer than

250 public housing units to convert their remaining public housing units or complexes to Section

8 HCVs without completing the conversion assessment required by 42 U.S.C § 1437t(b)(1) and

the agency’s implementing regulations, 24 C.F.R. § 972.209.

       50.     HUD did not issue a public notice or take public comment in advance of

publishing the Notice.




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Jefferson Parish and the Acre Road Development

        Historical Background

        51.    Jefferson Parish, like the broader Greater New Orleans metropolitan region, is

historically racially segregated, a dynamic that is dramatically punctuated by the fact that the

Mississippi River divides the Parish into two halves, locally known as the “East Bank” and the

“West Bank.”

        52.    The East Bank of Jefferson Parish, which is on the same side of the Mississippi

River as most of the land within the formal boundaries of the City of New Orleans, includes the

majority-white suburbs of Metairie and Kenner.

        53.    The West Bank of Jefferson Parish, where Marrero and Acre Road are both

located, is more racially and ethnically diverse than the East Bank. It is also generally more

integrated than many majority-Black parts of Orleans Parish.

        54.    Marrero is an unincorporated, census-designated place on the West Bank of

Jefferson Parish.

        55.    Acre Road is a historically significant public housing development located at

1718 Betty Street in Marrero, Jefferson Parish, Louisiana. The Acre Road development was built

by the HAJP in 1963 and 1964 to house low-income families in Jefferson Parish.

        56.    The development comprises 100 buildings, including 199 individual housing

units, that are a combination of one-, two-, three-, and four-bedroom units, and one non-dwelling

unit.

        57.    From its conception in 1959, Acre Road was controversial, facing myriad

opposition, including the Marrero Lions Club, Parish Council, parish residents, and even state

legislators, maligning the proposal as a cancer to the community and a threat to entrenched racial



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segregation. Local representatives sought assurances from HUD’s predecessor, the Housing and

Home Finance Agency, that the planned development would never be forced to integrate.

       58.     Acre Road opened as a community that was open to tenants of all races between

1964 and 1965, just months after the Civil Rights Act of 1964 was passed. The Civil Rights Act

prohibited discrimination on the basis of race, color, religion, sex, and national origin in

programs and activities receiving federal financial assistance.

       59.     Opposition to the prospect of an integrated development, however, was strong

enough to effectively limit the racial composition of the complex almost exclusively to Black

residents.

       60.     By 1973, approximately 99% of residents served by the development were Black.

       61.     As of the date of this action, Black families comprise over 99% of Acre Road’s

population.

       The Marrero Tenants Organization, Inc.

       62.     The MTO was formed in 1973 to represent the interests of tenants at Acre Road.

       63.     In its five decades of existence, the MTO has advocated for maintenance and

repairs, protested rent and utility charges, organized against pollution and environmental

conditions, participated in the civil rights movement, sued HAJP and HUD over restrictions to

access to public meetings, and won a seat on the HAJP Board of Commissioners.

       64.     The MTO is credited with expanding tenant participation in public housing

administration nationwide. After the MTO won a resident seat on the Board of Commissioners,

HUD rules were changed to mandate resident appointments to public housing authority boards.




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       65.     In 1984, due to the MTO’s advocacy, Beverly Epps, an Acre Road resident, was

named HAJP Executive Director. She became the first Black woman to be named executive

director of a PHA anywhere in the country.

       66.     MTO’s half-century of advocacy on behalf of Acre Road’s Black residents led to

Acre Road receiving a Determination of Eligibility to be listed on the National Registry of

Historic Places in December 2020.

       Ongoing Patterns of Segregation in Jefferson Parish, Marrero, and the Broader New

       Orleans Region

       67.     Jefferson Parish remains racially segregated to this day, just like the broader

Greater New Orleans region.

       68.     According to 2020 Decennial Census data, Jefferson Parish is occupied by

440,781 residents. Of those residents, 47.3% are white, 26.3% are Black, 4.4% are Asian, and

17.9% are Latino.

       69.     According to 2020 Decennial Census data, nearly 52% of Black Jefferson Parish

residents would need to move in order for the racial demographics in the Parish to be equally

distributed, a measure that is referred to as the dissimilarity index.

       70.     A similar pattern is reflected in the isolation index levels provided in the 2020

Decennial Census data. The isolation index measures a group’s share of the overall population in

a jurisdiction to the average neighborhood share for members of that same group. Put simply, the

isolation index describes the degree to which a typical person of a particular race in a geographic

area is exposed only to other residents of the same race.




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       71.    Jefferson Parish’s Black isolation index is .48, meaning that the average Black

resident of the Parish lives in a census tract where there are 20% more Black residents as

compared to the parish as a whole.

       72.    Segregation in Jefferson Parish is starkly apparent when the differences between

the East Bank and the West Bank are considered.

       73.    The map below is based on 2020 Decennial Census data. This map, in which

census tracts with more red dots have higher concentrations of Black residents, those with more

beige dots have higher concentrations of white residents, those with more blue dots have higher

concentrations of Latino residents, and those with more purple dots have higher concentrations

of Asian residents, is illustrative of the degree of segregation between the East Bank and the

West Bank.




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       74.     The patterns described above with respect to Jefferson Parish are consistent with

the demographic patterns in the New Orleans–Metairie metropolitan statistical area (“MSA”),

which includes the Orleans, Jefferson, Plaquemines, St. Bernard, St. Charles, St. James, St. John

the Baptist, and St. Tammany parishes. The MSA has approximately 1.3 million residents,

48.3% of whom are white non-Hispanic and 32.9% of whom are Black.

       75.     The dissimilarity index in the MSA is .60, a level in excess of HUD’s own

threshold for high segregation.

       76.     The isolation index for Black residents of the MSA is .60.




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       77.     HCV holders in Jefferson Parish overall are more likely to live in more racially

segregated and lower-income areas due to the constraints on using HCVs in higher income and

typically more heavily white areas.

       78.     Weighted 2021 American Communities Survey 5-Year Estimates data show that

the average HCV holder in Jefferson Parish lives in a census tract where 28.9% of households

earn less than $25,000 per year, which is nearly 15% higher than the share of families at that

income threshold in Jefferson Parish overall.

       79.     Weighted 2020 Census data further show that the average HCV holder in

Jefferson Parish lives in a census tract where 45.6% of residents are Black and 21.1% Latino. Put

simply, the average Jefferson Parish HCV holders live in areas comprising 68% people of color,

despite the fact the people of color only comprise 53% of the population of Jefferson Parish

overall.

       80.     Although HCV holders are not precluded from using their vouchers anywhere

within Jefferson Parish, residential patterns of HCV holders nonetheless follow existing patterns

of segregation along the East Bank-West Bank divide. Among the East Bank’s most heavily

white census tracts, several have no voucher holders at all, while others have concentrations of

voucher holders of only 3% or 4%.

       81.     By contrast, concentrations of voucher holders in majority-Black census tracts on

the West Bank are frequently in excess of 30%.

       82.     These patterns are similar to those found throughout the MSA where, as in

Jefferson Parish, there are disproportionately high concentrations of voucher holders in

predominantly Black neighborhoods.




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        Need for Affordable Housing

        83.      Available affordable housing in Jefferson Parish falls far short of the total need,

which means that the disproportionately Black low-income population faces considerable

obstacles.

        84.      HUD considers a tenant to be cost-burdened if they are paying more than 30% of

income in housing costs.

        85.      According to HUD’s 2015–2019 Comprehensive Housing Affordability Study

data, 43% of Black households in Jefferson Parish are cost-burdened. By contrast, just 23% of

white households are cost-burdened.

        86.      Despite this clear need, HAJP proposes to demolish Acre Road, one of the last

remaining permanently affordable public housing sites within Jefferson Parish.

        Deteriorating Living Conditions at Acre Road

        87.      Over the last decade, physical conditions of Acre Road’s housing have declined

significantly.

        88.      In 2015, an estimate by a private company pursuant to HUD’s Green Physical

Needs Assessment (“PNA”) program placed the cost of rehabilitating Acre Road at

approximately $21.4 million. It estimated approximately $1.45 million for immediate repairs.

        89.      HAJP has not conducted any significant capital improvement projects to address

the issues identified by the 2015 PNA despite HAJP’s legal obligation under 24 C.F.R. § 5.703

and 24 C.F.R. § 965.601 to maintain Acre Road in habitable condition.

The Acre Road SVC Application

        90.      On October 23, 2020, HAJP submitted to HUD an SVC application and a

conversion plan for all 199 public housing units in HAJP’s inventory.



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        91.    The SVC application did not include a conversion assessment. The conversion

plan contains no market analysis or analysis of the ability of Acre Road residents to use housing

vouchers in Jefferson Parish.

        92.    The conversion plan contains an “Impact Analysis” that states the neighborhood

surrounding Acre Road will be positively impacted by the SVC because “[t]he development of

new, affordable housing and low-density commercial uses in this area will serve to increase the

stock of affordable housing for Jefferson Parish as the redevelopment of the Acre Road Project

will allow for a greater density of residential uses than what is currently existing on site.”

        93.    However, the conversion plan contains no specific commitment to redevelop Acre

Road.

        94.    The impact analysis contains no discussion of the impact of the SVC on current

Acre Road residents or any meaningful analysis of the impact on the concentration of poverty in

the neighborhood.

        95.    The SVC application does not contain any data to support a conclusion that the

rental market local to Acre Road residents has sufficient availability for HCV holders to obtain

housing comparable to their current homes at Acre Road. Upon information and belief, HUD

staff did not request that HAJP provide data to confirm that sufficient private rental housing

existed in local communities to support Acre Road residents.

        96.    Upon information and belief, HUD did not request that HAJP provide data on the

voucher success rate in Jefferson Parish.

        97.    On March 9, 2023, HUD formally approved the Acre Road SVC Plan.

        98.    HUD’s March 9, 2023, approval found the conversion will “improve the

neighborhood by allowing the HAJP and its partners to redevelopment [sic] of the site as new



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housing, either through substantially rehabilitation [sic] of the existing units or demolition of the

existing units and construction of new units.”

       99.      HUD’s March 9, 2023, approval further provides that “there is sufficient

availability of private rental housing with access to schools, jobs, and transportation in the New

Orleans metropolitan area where families can use their tenant-based [HCV/TPV] . . .

assistance.” The approval cites no data to support this assertion.

       100.     HUD’s March 9, 2023, approval incorporates an earlier finding by HUD’s Region

VI Fair Housing and Equal Opportunity Office that found no civil rights concerns with the Acre

Road SVC application.

       101.     HUD’s March 9, 2023, approval authorizes HAJP to immediately apply for 199

TPVs and issue 90-day notices to vacate to Acre Road residents.

       102.     Upon information and belief, HAJP has not issued any 90-day notices to vacate to

Acre Road residents.

       103.     Approximately 50 households remain at Acre Road as of this filing.

             Opposition to the Acre Road SVC

       104.     On or about July 15, 2021, in part to mitigate resident safety concerns, HUD

authorized HAJP to distribute HCVs to Acre Road tenants seeking to move pending approval of

the SVC application.

       105.     At the time, approximately 146 of the 199 units on site were occupied.

       106.     Acre Road tenants who were issued vouchers immediately encountered

significant difficulties using their vouchers in the private rental market.

       107.     On October 8, 2021, MTO President Darin Collins submitted a letter to the HUD

New Orleans field office, expressing concern that of the 117 vouchers issued to Acre Road



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residents by that date, “only a handful” of residents had been able to use the vouchers to find

suitable replacement housing due to a severe housing shortage in Jefferson Parish aggravated by

Hurricane Ida.

       108.      On November 22, 2022, the MTO, through counsel, sent a letter to HAJP, HUD,

and Louisiana Housing Corporation (“LHC”) to oppose the SVC.

       109.      MTO’s letter cited significant civil rights concerns arising out of fair housing

testing and data analysis in connection with the proposed SVC. MTO’s investigation revealed a

substantial likelihood that Acre Road residents who had been issued HCVs would encounter

significant difficulties using those vouchers in the Jefferson Parish housing market. Acre Road

residents and families would likely be either displaced from Jefferson Parish entirely or confined

to rentals located in equally if not more racially segregated and high-poverty areas. The MTO

also objected to HAJP’s failure to conduct a market analysis, part of the conversion assessment

required by 42 U.S.C. § 1437t.

       110.      On February 28, 2023, the MTO sent another letter to HAJP, HUD, and LHC

restating its opposition and citing data showing individuals issued HCVs only have a 57%

chance of successfully obtaining a lease in Jefferson Parish with their vouchers.

       111.      At various times since HAJP began meeting with Acre Road residents about the

proposed SVC conversion beginning in or around January 2020, MTO members have expressed

concerns about tenants’ ability to participate in the voucher program due to lack of income and

tenants’ inability to afford appliances because some landlords in the private rental market require

tenants to purchase their own appliances.

       112.      MTO members also requested that HAJP provide property listings of available

housing where they could use HCVs. In response, HAJP stated it did not have a list of properties



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and recommended that tenants use “gosection8.com,” Zillow, and Trulia to find available

housing.

       113.    On January 26, 2023, HAJP convened meetings with Acre Road residents to

discuss the status of the SVC Plan and next steps. At these meetings, dozens of Acre Road

tenants shared their inability to find housing with HCVs due to high market rents and/or

discrimination against voucher holders. Defendants’ March 9, 2023, approval of the Acre Road

SVC application did not address any of MTO’s concerns.

            Jolene Anderson

       114.    In 2021, HAJP provided Ms. Anderson with an HCV voucher for a two-bedroom

unit. The original voucher issued to her as part of the SVC plan did not account for her mother,

who serves as Ms. Anderson’s live-in caregiver.

       115.    Ms. Anderson understood that she needed to move to avoid homelessness because

Acre Road’s SVC Plan would be approved and the development would be closed.

       116.    It immediately became clear to Ms. Anderson that the HCV program would be

more expensive for her than residing in public housing. In the HCV program, her rent portion

could be up to 40% of her income, as opposed to 30% in public housing.

       117.    In addition, because Ms. Anderson recently returned to work after a period of

unemployment due to her disability, the PHA did not include her earned income in their

calculation of her out-of-pocket rental portion for her public housing unit. But she was told that

her income would be counted in the HCV program.

       118.    Most of the units she viewed did not include utilities, unlike her unit at Acre

Road. She would be responsible for paying those herself with a small utility allowance.




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        119.   Some properties she viewed did not have their own appliances, so she would have

to purchase them.

        120.   Many of the places had visible maintenance issues like those at issue at Acre

Road.

        121.   Ms. Anderson tried to find housing with her voucher. However, everywhere she

looked was more expensive than the maximum rent she was permitted on her voucher. Her

maximum rent was between $1,100 and $1,200 per month, but all of the two bedrooms she saw

cost more than $1,300 per month.

        122.   In the limited circumstances where a landlord did accept vouchers, the housing

options tended to be located in neighborhoods with high levels of crime and pervasive poverty.

        123.   Because of these significant roadblocks to securing housing, Ms. Anderson failed

to find housing within the authorized time period. Her voucher expired before she could rent a

new unit.

        124.   Ms. Anderson’s voucher was reissued in early 2023 as a three-bedroom voucher.

        125.   Ms. Anderson has attempted to use her three-bedroom voucher, but still cannot

locate a place she can afford. Her voucher is worth $1,646, but the three bedrooms she looked at

cost more than her voucher.

        126.   In total, Ms. Anderson contacted over 30 prospective rentals, with no success.

        127.   Until recently, Ms. Anderson had no vehicle and relied on Uber to view

prospective units. The $75 monthly stipend that HAJP provides her to assist with relocation

expenses is insufficient because it costs her up to $40 round-trip just to view one unit. As a

result, she was forced to lease a vehicle through Uber.




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       128.       Ms. Anderson relies on the community she has at Acre Road. She has a

relationship with her neighbors and local business owners. She is close to grocery stores and

public transportation. When her 18-year-old son goes to the corner store, the owners know him.

She feels safe.

       129.       Ms. Anderson has no family in the area to stay with. She cannot afford to pay rent

on the private market.

       130.       If HAJP were to issue a 90-day notice to vacate following HUD’s March 9, 2023,

approval, and Ms. Anderson remains unsuccessful in locating housing before the deadline, she

and her family will have to stay in a homeless shelter.

       Candace Johnson

       131.       In 2021, HAJP issued Ms. Johnson a two-bedroom HCV.

       132.       Ms. Johnson started looking for housing for herself and her 15-year-old daughter

but quickly found that the maximum price listed on the voucher was less than what landlords

were asking for a two-bedroom unit.

       133.       She found that landlords in certain areas of the East Bank, like Metairie, and

certain plurality-white areas of the West Bank, like Gretna, would not accept vouchers at all.

       134.       The only properties she could find whose landlords would accept vouchers were

in worse condition than her unit at Acre Road and were in areas with high crime rates. In total,

Ms. Johnson looked at over 25 rental units with no success.

       135.       Her voucher eventually expired.

       136.       Ms. Johnson wants to live near Acre Road because her daughter attends a good

high school in the area and is excelling. If she is forced to move to a new area, her daughter will

have to switch schools. In addition, Ms. Johnson currently lives near her job, where she works



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long hours as a supervisor at Sam’s Club. Moving to a new area will disrupt her job and increase

her transportation costs. If HAJP issues a 90-day notice to vacate as authorized by HUD’s March

9, 2023, approval, and Ms. Johnson remains unsuccessful in locating housing before the

deadline, she and her daughter will have to move in with her son, whose family occupies a two-

bedroom apartment. Because Ms. Johnson’s son’s family occupies all the rooms in the

apartment, Ms. Johnson and her high school-aged daughter will have to stay in her son’s living

room.

           Kedra James

        137.   Ms. James was issued a one-bedroom voucher at the end of 2021. She began

looking for housing immediately.

        138.   Ms. James looked at about 40 units all over the West Bank and the East Bank of

Jefferson Parish. She also looked at six units in Orleans Parish.

        139.   The landlords of the units about which she inquired either did not accept HCVs or

charged rents that were too expensive for her voucher.

        140.   Ms. James has finally located a unit in the Central City neighborhood of Orleans

Parish. The area where the unit is located has high rates of crime and poverty. The crime is worse

than in the Acre Road neighborhood. There are frequent shootings in the area where she is

moving.

        141.   Ms. James will be responsible for payment of water and sewer charges at the

Central City unit, expenses she does not have to pay at Acre Road. Ms. James wants Acre Road

to be redeveloped so that she can return to her home and community.




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Defendants’ Approval of HAJP’s SVC Application Has Discriminatory Housing Effects on Acre

Road Residents

       142.    The FHA obligates HUD to “administer the programs and activities relating to

housing and urban development in a manner affirmatively to further the policies of the [the

FHA.].” 42 U.S.C. § 3608(e)(5).

       143.    The FHA expressly forbids discriminatory practices that “make unavailable or

deny, a dwelling to any person because of race.” 42 U.S.C. § 3604(a).

       144.    Current market conditions functionally confine Acre Road residents with

vouchers to rental opportunities in census tracts that are more segregated.

                                       CLAIMS FOR RELIEF

       145.    The APA requires federal agencies to publish a “general notice of proposed

rulemaking . . . [to] give interested persons an opportunity to participate in the rule making

through submission of written data, views, or arguments, [and] [a]fter consideration of the

relevant matter presented, the agency shall incorporate in the rules adopted a concise general

statement of their basis and purpose.” 5 U.S.C. § 553(b)–(c).

       146.    The APA requires courts to hold unlawful and set aside agency final agency

action that is “arbitrary, capricious, an abuse of discretion, or otherwise not in accordance with

law.” 5 U.S.C. § 706(2)(A). Further, under the APA, Section 706(2)(C), the Court may “hold

unlawful and set aside” agency action that is “in excess of statutory jurisdiction, authority, or

limitations, or short of statutory right.” 5 U.S.C. § 706(2)(C).




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                                            COUNT I

 Defendants Improperly Promulgated Notice PIH 2019-05 Absent Compliance with Notice
                and Comment Procedures Required for Enacting Rules

                                 (Violation of 5 U.S.C. § 553(b))

       147.     Plaintiffs reallege and incorporate by reference the allegations in the preceding

paragraphs.

       148.     Promulgation of Notice PIH 2019-05 was “rule making” within the meaning of

the APA, 5 U.S.C. § 551(5), and was subject to the notice and comment requirements of 5

U.S.C. § 553.

       149.     Defendants promulgated Notice PIH 2019-05 without notice and without

opportunity for comment.

       150.     Defendants’ promulgation of Notice PIH 2019-05 was in violation of, and should

be vacated under, 5 U.S.C. § 553(b).

                                           COUNT II

  Defendants’ Notice PIH 2019-05 Conflicts with the Housing Act and Fair Housing Act

                               (Violation of 5 U.S.C. § 706(2)(A) )

       151.     Plaintiffs repeat and reallege by reference the allegations in the preceding

paragraphs.

       152.     Notice PIH 2019-05 is a final agency action.

       153.     The waiver of the conversion assessment by Notice PIH 2019-05 conflicts with

the framework set forth in 42 U.S.C. § 1437t requiring PHAs to conduct conversion assessments

in connection with applications for voluntary conversions of public housing developments.




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       154.   The waiver of the conversion assessment by Notice PIH 2019-05 conflicts with

Defendants’ mandate to affirmatively further fair housing in the administration of programs and

activities relating to housing and urban development, see 42 U.S.C. § 3608(e)(5).

       155.   Defendants’ issuance of Notice PIH 2019-05 is therefore arbitrary, capricious, an

abuse of discretion, or otherwise not in accordance with law in violation of the APA, 5 U.S.C. §

706(2)(A).

                                          COUNT III

     HUD’s Approval of the Acre Road SVC Application Is Arbitrary and Capricious

                              (Violation of 5 U.S.C. § 706(2)(A))

       156.   Plaintiffs repeat and reallege by reference the allegations in the preceding

paragraphs.

       157.   Defendants’ approval of the Acre Road SVC application is a final agency action.

       158.   Defendants failed to conduct a market analysis prior to concluding that there were

no civil rights concerns raised by the Acre Road SVC. Defendants’ approval of the Acre Road

SVC application is arbitrary, capricious, an abuse of discretion, or otherwise not in accordance

with law in violation of the APA, 5 U.S.C. § 706(2)(A).

                                              COUNT IV

          Defendants’ Approval of the Acre Road SVC Breached Their FHA Obligations

                              (Violation of 5 U.S.C. § 706(2)(C))

       159.   Plaintiffs repeat and reallege by reference the allegations in the preceding

paragraphs.

       160.   Defendants’ approval of the Acre Road SVC application is a final agency action.




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        161.    Defendants ignored data available to them concerning disproportionate adverse

impact that the Acre Road conversion will have on its Black residents.

        162.    Defendants ignored data available to them that provides that the Acre Road

conversion will have the effect of perpetuating residential racial segregation within Jefferson

Parish by displacing Acre Road’s Black residents into areas with larger concentrations of Black

residents, and higher poverty rates, than Marrero.

        163.    Defendants’ approval of the Acre Road SVC application fails their duty to

affirmatively further fair housing in the administration of programs and activities relating to

housing and urban development, see 42 U.S.C. § 3608(e)(5).

        164.    Defendants’ approval of the Acre Road SVC application is “in excess of statutory

jurisdiction, authority, or limitations, or short of statutory right” and therefore is in violation of 5

U.S.C. § 706(2)(C).

                                         REQUEST FOR RELIEF

        WHEREFORE, Plaintiffs respectfully request this Court to:

1.      Declare that Notice PIH 2019-05 is a substantive and legislative rule, improperly

promulgated without notice and comment in violation of the Administrative Procedure Act. 5

U.S.C. § 553(b)–(c);

2.      Declare that Notice PIH 2019-05 conflicts with the authorizing statute, 42 U.S.C. §

1437t, and is unlawful because it is “arbitrary and capricious, an abuse of discretion, or otherwise

not in accordance with law.” 5 U.S.C. § 706(2)(A);

3.      Declare that Defendants’ approval of the Acre Road SVC application without a market

analysis required by a conversion assessment violated the Administrative Procedure Act. 5

U.S.C. § 706(2)(A), (C);



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4.     Declare that Defendants’ approval of the Acre Road SVC application was contrary to

their mandate under the Fair Housing Act. 5 U.S.C. § 706(2)(A), (C);

5.     Vacate and set aside Notice PIH 2019-05;

6.     Vacate and set aside Defendants’ approval of the Acre Road SVC application;

7.     Enjoin the March 9, 2023, approval of the Acre Road SVC, and all procedures, actions,

and timelines authorized in the March 9, 2023 approval letter, from taking effect;

8.     Enjoin Defendants from taking any action to further HAJP’s implementation of the Acre

Road SVC, including, but not limited to:

           a. Approving the issuance of 90-day notices to vacate to remaining Acre Road

               tenants;

           b. Approving or issuing Housing Choice Vouchers or Tenant Protection Vouchers to

               HAJP, its successors, and/or their third-party contractors for the purpose of

               forcing the relocation of remaining Acre Road tenants;

           c. Communicating to remaining Acre Road residents that moving is required;

           d. Suggesting, encouraging, or soliciting the relocation of any remaining residents of

               Acre Road;

           e. Approving demolition or destruction of any structures at Acre Road; and/or

           f. Taking any action, including approvals or disapprovals of PHA action, that would

               have the effect of further causing the deterioration of the site or lead to its

               demolition.

9.     Order Defendants to:

           a. Approve a plan for the revitalization of the Acre Road housing projects that:

                  i. does not have a disparate impact on Black families; and



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                  ii. does not result in the forced permanent displacement of the Black families

                      currently residing at Acre Road to more segregated, higher poverty areas.

           b. Ensure that HAJP complies with HUD regulations requiring that public housing

               developments be maintained in habitable condition consistent with 24 C.F.R.

               § 5.703 and 24 C.F.R. § 965.601.

10.    Award Plaintiffs their costs of suit and expenses, including reasonable attorneys’ fees and

expert witness fees; and

11.    Grant other relief as this Court may deem just and proper.



Dated: May 3, 2023                          Respectfully submitted,



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